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                            IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF MISSOURI

 In Re:                                                    )   Waive 30 Days
                                                           )
 David J. Rice, Respondent                                 )   Case No. 18-40777-705
                                                           )
 Bayview Loan Servicing, LLC, Movant                       )   Chapter: 7
                                                           )
 vs.                                                       )   MOTION FOR RELIEF FROM
                                                           )   STAY
 David J. Rice, Respondent                                 )
                                                           )   Filed By: Bayview Loan
 and                                                       )   Servicing, LLC
                                                           )
 Tracy A. Brown, Trustee                                   )   Original Hearing Date:
                                                           )   July 31, 2018
                                                           )   Original Hearing Time:
                                                           )   9:30 AM
                                                           )
                                                           )   Hearing Location: 7South
                                                           )
                                                           )   Steven L. Crouch, #2903
                                                           )   Daniel A. West, #98415
                                                           )   Wendee Elliott-Clement, MBE
                                                           )   #50311
                                                           )   Lisa C. Billman MBE #64535
                                                           )   13160 Foster Suite 100
                                                           )   Overland Park, KS 66213-2660


                             MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                                 COMBINED WITH NOTICE OF HEARING

 WARNING: THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
 YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
 PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE,
 YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
 FILE AND SERVE YOUR RESPONSE BY JULY 24, 2018.

 YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU
 DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
 FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED
 AN AGREEMENT, YOU MUST ATTEND THE HEARING. THE DATE IS SET OUT ABOVE.
 UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT
 THE HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

 REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.

 THE HEARING TO BE HELD ON THE DATE AND TIME ABOVE BEFORE THE
 HONORABLE Charles E. Rendlen, III, IN THE UNITED STATES BANKRUPTCY COURT,

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 EASTERN DISTRICT OF MISSOURI, 111 SOUTH 10TH STREET, ROOM 4.380, ST. LOUIS,
 MISSOURI, 63102-2734, COURTROOM # 7SOUTH.


         COMES NOW Bayview Loan Servicing, LLC. its successors or assigns (“Movant”), and in

 support of its motion, states as follows:

         1.       Movant files this motion under Rules 4001 and 9014, Rules of Bankruptcy Procedure.

 On February 13, 2018, the Respondent filed a Petition for Adjustment of Debts under Chapter 7 of the

 Bankruptcy Code wherein Movant was listed as a secured creditor as to real property of the Respondent.

         2.       Jurisdiction is invoked in the District Court under 28 U.S.C. §1334(a) and jurisdiction is

 proper in this Court pursuant to 28 U.S.C. §1408(1) and §157(b)(2)(G).

         3.       David J. Rice (“Respondent”, whether one or more) resides at 2020 Foggy Bottom Drive,

 Florissant, MO 63031.

         4.       Tracy A. Brown is the Trustee duly appointed by law ("Trustee").

         5.       On February 1, 2007, David J. Rice executed a promissory note (the “Note”) in the

 principal sum of $76,400.00. The Note originated in the name of Pulaski Bank and was endorsed to

 SunTrust Mortgage, Inc., then SunTrust Mortgage, Inc. endorsed the Note in Blank. A copy of the Note

 is referenced as Exhibit “A”.

         6.       Contemporaneously with the execution of the Note, a Deed of Trust was executed to

 secure repayment of the Note. The Deed of Trust was filed for record with the Office of the Register of

 Deeds of St. Louis County, MO, on February 7, 2007, Document No. 588, in Book No. 17447, at Page

 3780. The Deed of Trust originated in the name of Mortgage Electronic Registration Systems, Inc., as

 nominee for Pulaski Bank, and was assigned to SunTrust Mortgage, Inc., which then assigned it to

 Bayview Loan Servicing, LLC. A copy of the Deed of Trust is referenced as Exhibit “B”. The Property

 is legally described as follows:

         LOT 895 OF PLEASANT HOLLOW PLAT TWO A, A SUBDIVISION IN ST. LOUIS
         COUNTY, MISSOURI, ACCORDING TO THE PLAT THEREOF RECORDED IN PLAT
         BOOK 143, PAGE 10 OF THE ST. LOUIS COUNTY RECORDS., commonly known as
         2020 Foggy Bottom, Florissant, Missouri 63031 (the “Property”).


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         7.       Movant is entitled to enforce the Note and Deed of Trust.

         8.       Movant does not have an independent estimate of the value of the property, but notes that

 the Respondent has scheduled the value of the property at $76,500.00.

         9.       The Respondent has not claimed the Property as exempt under 11 U.S.C. §522. The

 Respondent’s Statement of Intention reflects that the Property will be surrendered.

         10.       The total debt due on this loan as of May 16, 2018 is $67,197.11; an exact payoff is

 available upon request of an appropriate party.

         11.      The Respondent has failed to pay the payments due on the promissory note held by the

 Movant. The following amounts are now due and owing:

          DESCRIPTION                                                              AMOUNT
          (1) Late Payments @ $821.38 (02/01/18)                                     $821.38
          (3) Late Payments @ $764.19 (03/01/18 - 05/01/18)                         $2,292.57
          Accrued Late Charges                                                         $52.12
          Property Inspections                                                         $22.00
          MFR Filing Fee                                                             $181.00
          MFR Attorney Fees                                                          $750.00
          Total                                                                     $4,119.07

         12.      These amounts due and owing are in addition to any amounts that have come due after

 the filing of this Motion pursuant to the terms of the Promissory Note and Security Instrument.

         13.      The Respondent has failed to cure the delinquency and the estate lacks sufficient assets

 from which the delinquency can be cured.

         14.      The Respondent has materially defaulted with respect to payment of Movant’s secured

 claim and has caused unreasonable delay, which is prejudicial to this movant.

         15.      To remedy this prejudicial delay to movant, an Order for Relief from the Automatic Stay

 should be granted that is effective immediately without a stay of enforcement pursuant to Federal Rule of

 Bankruptcy Procedure 4001(a)(3).

         16.      Movant seeks relief for the purpose of exercising its remedies available under state law,

 up to and including foreclosure of its mortgage against Respondent’s interest in the Property. Movant

 further seeks relief in order to contact Respondent, at its option, by telephone or by written

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 correspondence, to offer, provide and enter into a forbearance agreement, deed in lieu of foreclosure, loan

 modification, refinance agreement or other loan workout/loss mitigation agreement.

         17.      Movant specifically requests permission from this Honorable Court to communicate with

 the Respondent and Respondent’s counsel to the extent necessary to comply with applicable

 nonbankruptcy law.

         WHEREFORE, Movant, its successors or assigns, prays that it be granted Relief from the

 Automatic Stay of 11 U.S.C. §362 to enforce its lien granted in the Deed of Trust, and for such other and

 further relief as the Court deems proper.




 SOUTHLAW, P.C.
 _/s/ Lisa C. Billman___________________________________
 Steven L. Crouch, (MBE #37783; EDMO #2903; KSFd #70244)
 Daniel A. West (MBE #48812; EDMO #98415; KSFd #70587)
 Wendee Elliott-Clement (MBE #50311; KS #20523)
 Lisa C. Billman (MBE #64535, KS #25177)
 13160 Foster Suite 100
 Overland Park, KS 66213-2660
 (913) 663-7600
 (913) 663-7899 Fax
 moedbknotices@southlaw.com
 ATTORNEYS FOR MOVANT




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                                  CERTIFICATE OF MAILING/SERVICE

 I certify that a true and correct copy of the foregoing document was filed electronically on June 27, 2018,
 with the United States Bankruptcy Court, and has been served on the parties in interest via email by the
 Court’s CM/ECF System as list on the Court’s Electronic Mail Notice List.

 I certify that a true and correct copy of the foregoing document was filed electronically with the United
 States Bankruptcy Court, and has been served by Regular United States Mail Service, first class, postage
 fully pre-paid, addressed to the parties listed below on June 27, 2018.



 David J. Rice
 2020 Foggy Bottom Drive
 Florissant, MO 63031
 RESPONDENT




 SOUTHLAW, P.C.
 _/s/ Lisa C. Billman___________________________________
 Steven L. Crouch, (MBE #37783; EDMO #2903; KSFd #70244)
 Daniel A. West (MBE #48812; EDMO #98415; KSFd #70587)
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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI
 In Re:                                                )
                                                       )
 David J. Rice, Respondent                             )   Case No. 18-40777-705
                                                       )
 Bayview Loan Servicing, LLC., Movant                  )   Chapter: 7
                                                       )
 vs.                                                   )
                                                       )
 David J. Rice, Respondent                             )
                                                       )
 and                                                   )
                                                       )
 Tracy A. Brown, Trustee                               )
                       SUMMARY OF EXHIBITS AND CERTIFICATE OF SERVICE

         The following Exhibits referenced in the Attached Pleading filed on behalf of Bayview Loan
 Servicing, LLC are available on request to the undersigned.

         1.   Exhibit A, the Note dated February 1, 2007, in the principal sum of $76,400.00.

         2.   Exhibit B, the Deed of Trust for the Property that is the subject of the Pleading. The
              Deed of Trust was filed for record with the Office of the Register of Deeds of St.
              Louis County, Missouri, on February 7, 2007, Document No. 588, in Book No.
              17447, at Page 3780. The property is legally described as:

              LOT 895 OF PLEASANT HOLLOW PLAT TWO A, A SUBDIVISION IN ST. LOUIS
              COUNTY, MISSOURI, ACCORDING TO THE PLAT THEREOF RECORDED IN
              PLAT BOOK 143, PAGE 10 OF THE ST. LOUIS COUNTY RECORDS., commonly
              known as 2020 Foggy Bottom, Florissant, Missouri 63031.

         3.   Exhibit C, the assignment of the subject Deed of Trust.

 David J. Rice
 2020 Foggy Bottom Drive
 Florissant, MO 63031
 RESPONDENT

 SOUTHLAW, P.C.
 _/s/ Lisa C. Billman___________________________________
 Steven L. Crouch, (MBE #37783; EDMO #2903; KSFd #70244)
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